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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE

         PHARMACYCLICS LLC and                     )
         JANSSEN BIOTECH, INC.,                    )
                                                   )
                             Plaintiffs,           )
                                                   )
                      v.                           ) C.A. No. 18-192 (CFC)
                                                   ) CONSOLIDATED
         SUN PHARMA GLOBAL FZE, et al.,            )
                                                   )
                             Defendants.           )
         PHARMACYCLICS LLC and                     )
         JANSSEN BIOTECH, INC.,                    )
                                                   )
                             Plaintiffs,           )
                                                   )
                      v.                           ) C.A. No. 19-434 (CFC) (CJB)
                                                   )
         ALVOGEN PINE BROOK LLC and                )
         NATCO PHARMA LTD.,                        )
                                                   )
                             Defendants.           )


             STIPULATION AND [PROPOSED] ORDER EXTENDING DEADLINES
               IT IS HEREBY STIPULATED by the parties in the above-captioned

         actions, subject to the approval of the Court, that the following deadlines relating

         to expert discovery are extended as shown in the table below. These extensions

         will not impact the deadline for the submission of the pretrial order, the pretrial

         conference date, or the trial date.



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               In light of the new proposed deadlines, the parties respectfully suggest that

         the Court reschedule the March 9, 2020 teleconference regarding trial and

         consolidation. As the parties expect to continue working to narrow the number of

         disputed issues following the exchange of opening expert reports, the parties

         believe that the teleconference would be more productive if scheduled in late April

         or early May, at the Court’s convenience.

               The new proposed schedule also reflects agreement between the parties that

         no Daubert motions shall be filed in these actions.


         Deadline                    Current                     Extended

         Opening Expert Reports      March 3, 2020               March 10, 2020

                                                                 Subject to the Court’s
         Telephone Conf. re Trial
                                     March 9, 2020               availability, a date in
         and Consolidation
                                                                 April

         Rebuttal Expert Reports     April 22, 2020              May 12, 2020

         Provide Expert
         Availability for            N/A                         May 19, 2020
         Depositions

         Reply Expert Reports        June 5, 2020                June 25, 2020

         End of Expert Discovery     July 24, 2020               August 13, 2020

         Daubert Motions             July 31, 2020
                                                                 No Daubert motions shall
         Daubert Oppositions         August 14, 2020
                                                                 be filed
         Daubert Replies             August 28, 2020


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                                                              September 18, 2020
         PTO Filed                 September 18, 2020
                                                              (no change)

                                                              September 23, 2020
         Pretrial Conference       September 23, 2020
                                                              (no change)

                                                              October 13, 2020
         Trial                     October 13, 2020
                                                              (no change)



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         SO ORDERED, this _______ day of March, 2020.


                                          UNITED STATES DISTRICT JUDGE




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